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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
              v.                            :      CRIMINAL NO. 21-cr-399 (RDM)
                                            :
ROMAN STERLINGOV,                           :
                                            :
                      Defendant.            :

                         GOVERNMENT’S NOTICE OF FILING

       The United States of America respectfully submits this Notice of Filing and corresponding

attached exhibits for the record. During trial in the above matter, defense raised a question

regarding electronic discovery that had previously been provided by the government. The matter

was discussed on the record. See 2/27/24 (PM) Tr. at 17:17-28:19. The Court invited the

government to lodge referenced email correspondence on the docket in order to make a record.

The government accordingly submits the attached materials for the record.
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                            Respectfully submitted,
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